     Case 1:04-cv-00798-PLF-GMH Document 1140 Filed 03/29/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                   ORDER

        In light of the government’s letter motion to compel the A/E/L Claimants to respond to its Second

Set of Requests for Production (ECF No. 1134); the A/E/L Claimant’s letter motion to quash subpoenas

served by the government on First Federal Bank and Eagle Bank (ECF Nos. 1136, 1138), and the A/E/L

Claimants’ response to the government’s letter motion to compel them to respond to its Second Set of

Requests for Production (ECF No. 1139), it is hereby

        ORDERED that the government’s motion to compel (ECF No. 1134) is GRANTED and the A/E/L

Claimants shall, as contemplated in their response to the motion, respond to the Second Set of Requests for

Production today, March, 29, 2019. It is further

        ORDERED that the government shall respond on or before April 1, 2019, to the A/E/L Claimants’

motion to quash the two aforementioned subpoenas.

        SO ORDERED.
                                                                      Digitally signed by G.
                                                                      Michael Harvey
                                                                      Date: 2019.03.29
Dated: March 29, 2019                                                 08:16:29 -04'00'
                                                   ___________________________________
                                                   G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE
